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EXHIBIT E -- KEY TO EXHIBITS A & B
EXHIBIT A -- BOARD FILINGS FROM CHARGES FORWARD


Date                        Title of Document                                                       Exhibit #
  Current as of 10-14-22*   Informal Rough Docket Sheet                                             A-1
               7/19/2022    Specification of Charges                                                A-2
               7/27/2022    Affidavit of Service**                                                  A-3
                 8/4/2022   Motion for Extension of Time                                            A-4
                 8/4/2022   Motion for Leave to File Under Seal                                     A-5
                            Disciplinary Counsel's Opposition to Respondent's Motion for
               8/4/2022     Extension (Under Seal)                                                  A-6
               8/5/2022     Motion to File Reply Under Seal                                         A-7
               8/5/2022     Motion to Place Motion for Extension Under Seal                         A-8
               8/5/2022     Reply in Support Of Motion For Extension Of Time (Under Seal)           A-9
               8/8/2022     Hearing Committee Order - Granting Motion for Extension                 A-10
                            Board Order - Ruling on Motions to File Under Seal (With Confidential
               8/8/2022     Appendix)                                                               A-11
                            Disciplinary Counsel's Opposition to Respondent's Motion for
               8/8/2022     Extension (With Redactions)                                             A-12
              8/11/2022     Motion to Recuse Board Member Matthew Kaiser                            A-13
                            Sealed Response to the Board’s August 8th Sealing Order Including a
              8/11/2022     Call for Affirmative Relief and Incorporated Motion to Seal             A-14
              8/17/2022     Notice and Incorporated Motion to Seal                                  A-15
              8/29/2022     Request for Deferral Under Board Rule 4.2                               A-16
                            Hearing Committee Order - Denying Request that Motion be Ruled on
              8/31/2022     Before September 1st                                                    A-17
              8/31/2022     Disciplinary Counsel's Opposition to Request for Deferral               A-18
               9/1/2022     Motion to File Under Seal (Motion to Defer)                             A-19
               9/1/2022     Motion to Dismiss and Brief in Support                                  A-20
               9/1/2022     Answer of Respondent                                                    A-21
               9/1/2022     Motion to File Answer Under Seal                                        A-22
               9/1/2022     Motion to File Motion to Dismiss Under Seal                             A-23
               9/2/2022     Board Order - Regarding Redactions                                      A-24
               9/2/2022     Final Redactions re 2022-08-04 Disciplinary Counsel's Opposition        A-25
                            Final Redactions re 2022-08-05 Reply in Support Of Motion For
               9/2/2022     Extension of Time                                                       A-26
               9/2/2022     Final Redactions re 2022-08-04 Motion for Extension of Time             A-27
               9/2/2022     Board Order - Regarding Redactions (Redacted)                           A-28
                            Opposition to Respondent’s “Sealed Response to the Board’s August
                            8th Sealing Order Including a Call for Affirmative Relief and
               9/6/2022     Incorporated Motion to Seal”                                            A-29
                            UNDER SEAL Disciplinary Counsel’s Omnibus Response to
               9/6/2022     Respondent’s September 1, 2022 Pleadings                                A-30
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                        REDACTED - Disciplinary Counsel’s Omnibus Response to
                        Respondent’s September 1, 2022 Pleadings                               A-31
             9/8/2022   Motion to File Answer Under Seal_Redacted                              A-32
             9/8/2022   Answer of Respondent_Redacted                                          A-33
             9/8/2022   Request for Deferral Under Board Rule 4.2_Redacted                     A-34
             9/8/2022   Motion to File Under Seal (Motion for Deferral)_Redacted               A-35
             9/8/2022   Notice and Incorporated Motion to Seal_Redacted                        A-36
             9/8/2022   Motion to Dismiss and Brief in Support_Redacted                        A-37
             9/8/2022   Motion to File Under Seal (Motion to Dismiss)_Redacted                 A-38
                        Sealed Response to the Board’s August 8th Sealing Order Including a
                        Call for Affirmative Relief and Incorporated Motion to Seal (without
             9/8/2022   Attachments)_Redacted                                                  A-39
                        Sealed Response to the Board’s August 8th Sealing Order Including a
                        Call for Affirmative Relief and Incorporated Motion to Seal_Redacted
             9/8/2022   (with attachments)                                                     A-40
            9/12/2022   REDACTED - Reply Brief in Support of Motion to Dismiss                 A-41
            9/12/2022   UNDER SEAL - Reply Brief in Support of Motion to Dismiss               A-42
            9/12/2022   Report and Recommendation                                              A-43
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            9/15/2022   COURT OF APPEALS Mootness, Etc. Order                                  A-45
            9/15/2022   WITHDRAWN Motion Regarding Publicly Available Filings                  A-46
            9/16/2022   Board Order - ruling on motion to recuse Kaiser                        A-47
                        Respondent's Withdrawal of Motion Regarding Publicly Available
            9/20/2022   Filings                                                                A-48
            9/27/2022   Board Order denying request to defer                                   A-49
            9/29/2022   Hearing Committee Order - Setting Pre-Hearing Conference               A-50
            10/3/2022   Statement Concerning Hearing Dates                                     A-51
                        Hearing Committee Order - Re Pre-Hearing Conference, What Parties
            10/4/2022   Should be Prepared to Discuss                                          A-52
            10/6/2022   Pre-Hearing Transcript                                                 A-53
            10/6/2022   Subpoena                                                               A-54
           10/12/2022   Hearing Committee Order - Memorializing Pre-Hearing                    A-55
           10/14/2022   Email from D. O'Neill to P. Fox and Draft Subpoena to D. Smith         A-56

                        * Items like subpoenas and the DCCA Order of 9/15/22 are not
                        on the Board's rough docket sheet

                        ** We could not find this document.

EXHIBIT B -- PRE-CASE/PRE-PROSECUTION INVESTIGATION STAGE DOCUMENTS

Date                  Title of Document                                                        Exhibit #
            10/7/2021 Senator Durbin Letter                                                    B-1
            1/31/2022 H MacDougald to P Fox Letter re Subpoena                                 B-2

            1/31/2022 H MacDougald to P Fox Letter re Subpoena re Other Legal Objections B-3
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             P Fox to H. MacDougald Letter re Motion to Enforce (contains 11-22-
  2/3/2022   21 subpoena)                                                                 B-4
10/17/2022   Official Docket Sheet                                                        B-5
  2/3/2022   Motion to Enforce (contains 11-22-21 P Fox to J Clark Letter                 B-6
 2/14/2022   Appearance by Charles Burnham                                                B-7
 2/14/2022   Consent Motion For Extension Of Time to File opposition                      B-8
 2/15/2022   Order Granting Motion for extension of time to file opposition *             B-9
 2/15/2022   Consent Motion to Exceed Length Limitations                                  B-10
 2/15/2022   Response to Motion to Compel and Cross-Motion to quash**                     B-11
             Disciplinary Counsel's Reply to Respondent's Opposition to Motion to
             compel and Cross motion to quash subpoena: Additional Factual
 2/18/2022   Statements                                                                   B-12
 2/21/2022   Reply in Support of Cross-Motion to Quash                                    B-13
 3/11/2022   Consent Motion for leave to supplement the record                            B-14
             Response to Disciplinary counsel's consent motion for
 3/14/2022   leave to supplement the record                                               B-15
 3/15/2022   Lodged Protection Motion to Quash at Board                                   B-16
 3/17/2022   Motion for Leave to Reply to Respondent's March 15, 2022 Pleading            B-17
  8/4/2022   Motion to Unseal                                                             B-18
 8/11/2022   Answer/Response to Motion to unseal & Cross-Mot to Stay                      B-19
             Disciplinary Counsel's opposition to respondent's cross-motion to stay
             proceedings before the Board on Professional Responsibility pending
 8/15/2022   resolution in this court                                                     B-20

             Reply brief in support of Cross motion to Stay proceedings before the
             Board Of Professional responsibility pending resolution in this court
 8/18/2022                                                                                B-21
 8/31/2022 Notice of Supplemental Authority                                               B-22
                                                                                          Exh A-45,
 9/15/2022 Mootness Order                                                                 supra

             * This document could not be downloaded.

             ** The DCCA docket sheet indicates that this filing was "Lodged,"
             which is not correct. It confuses this filing with a different filing made
             to the Board, which is listed above.
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